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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

UNITED STATES OF §
AMERICA §
                                                §
v. § CASE NO. 4:23-CR-268-SDJ
                                                §
ROBBERTA MARIE KHAN §
                                                §
         WAIVER AND CONSENT TO PROCEED BEFORE UNITED STATES
              MAGISTRATE JUDGE FOR ENTRY OF GUILTY PLEA
       I am aware of my right to appear in open court and be addressed personally by a United
States District Judge when I enter my guilty plea in this case.

       I hereby knowingly, voluntarily and with advice of counsel waive my right to enter my guilty
plea before a district judge, and I consent to have United States Magistrate Judge Bill Davis hear,
accept and bind me to my guilty plea and make all appropriate fact findin s and determinations

required by law including findings as to whether:
       1. I am fully competent and capable of entering an informed plea;
       2. I am aware of the nature of the charge(s) and consequences of my plea;
       3. My plea of guilty is a knowing and voluntary plea; and
       4. My plea of guilty is supported by an independent basis in fact containing each of the
               essential elements of the offense(s).
       I understand and agree that (a) the United States district judge assigned to my case may
accept or reject my plea agreement, or defer such decision until the court reviews the presentence

report; (b) upon conviction, sentencing will be conducted by a United States district judge; and (c)
substantive or procedural concerns about my guilty plea proceedings before the magistrate judge




Assistant United States Attorney
